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 and the harm that would ensue from the loss of those benefits. NJ Amici include many of the

 leading environmental groups in the State and strongly support congestion pricing because of its

 beneficial environmental impacts.

        Plaintiff also fails to address the harm that an injunction would cause New Jersey

 commuters, the vast majority of whom commute into the Central Business district (“CBD”)

 using public transportation. The profound negative consequences an injunction would have on

 the environment, New Jersey commuters, and indeed New Jersey residents as a whole, requires

 the denial of Plaintiff’s motion.

        Second, Plaintiff is acting in bad faith and has unclean hands by virtue of taking positions

 in its motion that are diametrically opposite to those it is taking regarding its $7 billion plan to

 demolish and the expand the Newark Bay Bridge (the “Bridge Expansion”), which is part of its

 $10.7 billion plan to expand the entire the 8.1-mile Newark Bay Hudson County Extension

 (“NB-HCE”) of the New Jersey Turnpike. Stokely-Van Camp v. Coco-Cola Co., 646 F.Supp.2d

 510, 532-34 (SDNY 2009) (preliminary injunction denied where movant previously engaged in

 the same conduct and took the same positions as defendant). The draft environmental

 assessment and FONSI submitted with respect to the Bridge Expansion (the “EA/FONSI”)

 shows that the Bridge Expansion will cause an increase in diesel truck traffic during rush hours

 of between 23.2% and 38.5% when compared to a no-action alternative. While the alleged

 inadequacy of mitigation measures in Bergen County is at the heart of Plaintiff’s motion, the

 State is taking the position in the EA/FONSI that no mitigation measures are needed for the

 Bridge Expansion.

        Plaintiff has never denied that its positions in this litigation are inconsistent with those it

 is taking regarding the Bridge Expansion. These inconsistent positions require the denial of
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 Plaintiff’s motion. At the very least, an injunction should not be issued without a full record of

 Plaintiff’s conflicting positions.

         Third, the Court should not consider Plaintiff’s motion without the disclosure and

 consideration of the settlement proposals exchanged between Plaintiff and the Defendants. It has

 been reported that New York State has offered hundreds of millions of dollars to settle this

 action, which would address the concerns Plaintiff has raised regarding the Tolling Program. We

 understand that those settlement talks have ended with New York’s Governor publicly accusing

 Plaintiff of negotiating in bad faith. The settlement discussions could very well show Plaintiff’s

 lack of good faith, a prerequisite to granting injunctive relief. The Court should not issue an

 injunction without disclosure and consideration of the settlement proposals and an understanding

 of whether New Jersey acted in bad faith by refusing to accept a proposal that would have

 addressed its concerns regarding the Tolling Program.

 A. Plaintiff’s Motion fails to Address the Harm that a Preliminary Injunction Would
    Cause New Jersey Commuters and Residents

         Likelihood of success on the merits is only the beginning of the analysis the Court must

 make in determining whether to grant a motion for a preliminary injunction. “‘In exercising their

 sound discretion, courts of equity should pay particular regard for the public consequences in

 employing the extraordinary remedy of injunction.’ Romero–Barcelo, 456 U.S., at 312, 102 S.Ct.

 1798; see also Railroad Comm'n of Tex. v. Pullman Co., 312 U.S. 496, 500, 61 S.Ct. 643, 85

 L.Ed. 971 (1941).” Winter v. Natural Resources Defense Council, Inc., 555 U.S. 7, 24 (2008).

 An injunction is a matter of equitable discretion; it does not follow from success on the merits as

 a matter of course. Weinberger v. Romero-Barcelo, 456 U.S. 305, 313 (1982) (“[A] federal

 judge sitting as chancellor is not mechanically obligated to grant an injunction for every violation

 of law.”).
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        “Even assuming irreparable injury, the Supreme Court has overturned an injunction based

 solely on the balance of equities and the public interest. Winter, 555 U.S. at 26, 32, 129 S.Ct.

 365. In doing so, it ‘d[id] not address the underlying merits of plaintiffs' claims.’ Id. at 31, 129

 S.Ct. 365. [The Third Circuit has] taken this approach too. See Weissbard v. Coty, Inc., 66 F.2d

 559, 560 (3d Cir. 1933) (not opining on the merits because the District Court would be better

 placed to rule on them after a ‘final hearing’). The other factors are independent grounds to deny

 relief.” Delaware State Sportsmen's Ass’n, Inc. v. Delaware Dep’t of Safety & Homeland

 Security, 108 F.4th 194, 202-3 (3d Cir. 2024)

        The obvious and compelling interest that New York has in allowing the Tolling Program

 to proceed will be undoubtedly addressed by the Defendants and New York Amici. But not to be

 overlooked is the harm an injunction will cause New Jersey commuters and public transit users.

        As detailed more fully in Amici’s January 18, 2024 brief to the Court, the Tolling

 Program would benefit New Jersey residents and the State in eight ways.

            1. The vast majority of New Jersey residents use public transportation to
               commute into the CBD and would benefit from congestion pricing

        There are more than 400,000 Jersey Commuters. The vast majority of them, more than

 75%, use public transportation to get to the CBD. Those commuters would not pay a congestion

 pricing toll and with fewer private vehicles on the road, bus commuters would have shorter and

 less polluted commutes.

            2. New Jersey residents use public transportation upon arriving in the CBD
               and would benefit from congestion pricing

        The Tolling Program will dramatically improve subway and bus service in New York

 City. A large percentage of New Jersey commuters use public transportation once they arrive in

 the CBD. Before the pandemic, 200,000 New Jerseyans used the subway daily. The Tolling
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 Program will improve subway and bus service in the CBD, benefiting those New Jersey

 commuters, including those who drive into the CBD.

             3. New Jersey commuters would benefit from cleaner air in the CBD

         Congestion pricing will dramatically improve air quality in the CBD by, among other

 things, reducing toxic particulate matter by more than 10%. All New Jersey commuters, public

 transportation users and drivers alike, will benefit from cleaner air once they arrive in the CBD.

             4. New Jersey drivers will benefit from congestion pricing

         For those choosing to continue to drive into the CBD, the Tolling Program will result in

 better and faster commutes into the CBD and faster travel and easier parking once they get there.

 It is reasonable to assume that many, if not most, New Jersey drivers would readily pay a toll for

 a better and faster commute in, easier driving and parking once they arrived, and more time with

 their families.

             5. There Will be improved air quality and less pollution in New Jersey

         The Tolling Program will produce improved air quality and less pollution in New Jersey

 as a whole. For example, Hudson County is projected to see large reductions in all air pollutants.

             6. The Tolling Program is needed for New Jersey to meet its goal of reducing
                GHGs by 50% from 2006 levels by 2030 (the “50x30 Goal”)

         The 50x30 Goal is mandated by both statute and executive order. Executive Order 274

 directs all State agencies to develop strategies to reduce GHGs by 50% below 2006 levels by

 2030. N.J.S.A. 26:2C-58, part of New Jersey’s Global Warming Response Act, requires the

 State to lower GHGs in accordance with the goals established by the United States Climate

 Alliance. One of those goals is to reduce GHG emissions by at least 50-52% below 2005 levels

 by 2030. 37% of GHGs in New Jersey are produced by the transportation sector, by far the

 largest source of GHGs in the State. New Jersey is not on track to meet the 50x30 Goal and has
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 no plan to meet it. Without a substantial reduction in GHGs from the transportation sector, the

 50x30 Goal cannot be met. New Jersey needs the Tolling Program to meet its climate goals.

               7. The Tolling Program will benefit New Jersey companies

        MTA spending has benefited New Jersey companies and the Tolling Program will

 enhance those benefits. Consistent with historical spending, New Jersey companies will likely

 receive more than $1 billion in revenue generated solely from the Tolling Program.

               8. The Tolling Program will incentivize the use of public transportation and
                  provide much needed revenue for NJ Transit

        By discouraging private vehicles from driving into the CBD and encouraging greater use

 of public transportation, the Tolling Program will provide desperately needed revenue for NJ

 Transit.

        All of these important and substantial benefits outlined above would be lost by an

 injunction.

        As Plaintiff’s brief states, “[m]ost obviously, there is a strong public interest in protecting

 the environment.” (Br. at 29). NJ Amici could not agree more; it is the reason the State’s leading

 environmental groups have become involved in this action. While purporting to act in the name

 of the environment, Plaintiff’s motion fails to address the numerous, substantial environmental

 benefits of the Tolling Program, including lower greenhouse gas emissions (“GHGs”) and toxic

 air pollutants throughout the metropolitan area, and the harm that would ensue for the loss of

 those benefits. An injunction would undermine the strong public interest in protecting the

 environment.

 B. Plaintiff is Acting in Bad Faith and Has Unclean Hands

            Plaintiff is acting in bad faith and has unclean hands by taking positions that are

 diametrically opposite to those it is taking regarding the $7 billion Bridge Expansion, which
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 would double the number of highway lanes in the one of the most densely populated areas of the

 country.

        In Stokely-Van Camp v. Coco-Cola Co., supra, the court denied a motion for a

 preliminary injunction where the movant previously engaged in the same conduct and took the

 same position as defendant. The court explained:

               Coca-Cola raises the defense that SVC would not be entitled to the
               equitable relief of a preliminary injunction because SVC has
               unclean hands. More specifically, Coca-Cola claims that because
               SVC has touted the importance of calcium and magnesium in sports
               drinks for years, and because SVC too planned to introduce a new
               formulation of Gatorade with calcium and magnesium, boosted by
               advertising claims similar to Coca-Cola's, it cannot equitably seek
               an order enjoining Coca-Cola from doing the same.

               It is a fundamental principle that he who comes into equity must
               come with clean hands. The idea underlying the doctrine is that
               since equity tries to enforce good faith in defendants, it no less
               stringently demands the same good faith from the plaintiff….

               Although SVC complains of Coca-Cola's touting of calcium and
               magnesium, the evidence at the preliminary injunction hearing
               demonstrated that SVC too has marketed the advantage of adding
               calcium and magnesium to Gatorade Endurance Formula….

               Courts in this Circuit and elsewhere have routinely found that a
               plaintiff's misconduct relates to the subject matter of its claims
               where, as here, the plaintiff has engaged in the same kind of
               behavior that it challenges. See, e.g., Ultreo, Inc., 574 F.Supp.2d at
               354–55; Nikkal Indus., Ltd. v. Salton, Inc., 735 F.Supp. 1227, 1238
               (S.D.N.Y.1990) (explaining that equitable relief would be
               inappropriate where plaintiff engaged in the “very same conduct” it
               had challenged); Haagen-Dazs, 493 F.Supp. at 76; see also Morgan
               Stanley DW, Inc. v. Frisby, 163 F.Supp.2d 1371, 1380
               (N.D.Ga.2001) (holding that “Morgan Stanley is estopped from
               seeking a restraining order against competitive conduct which it
               admits to engaging in”); Salomon Smith Barney Inc. v. Vockel, 137
               F.Supp.2d 599, 603 (E.D.Pa.2000) (denying plaintiff's motion for a
               preliminary injunction where it “seeks the help of a court of equity
               to prevent the same conduct by [the defendant] which it had
               previously abetted and from which it ha[d] handsomely profited”).
               …
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                    [SVC’s] own unclean hands also preclude the equitable relief of a
                    preliminary injunction.

 Stokely-Van Camp v. Coco-Cola Co., supra, 646 F.Supp.2d at 532-34 (some internal citations

 and quotations omitted). See also Procter & Gamble Co. v. Ultreo, Inc., 574 F.Supp.2d 339,

 354–56 (S.D.N.Y.2008) (applying unclean hands doctrine where plaintiff had engaged in

 advertising virtually identical to the allegedly false advertising of defendant); Havana Club

 Holding v. Galleon, No. 96 Civ. 9655, 1998 WL 150983 (S.D.N.Y. Mar. 31, 1998) (in suit in

 which plaintiff sought to enjoin defendant from falsely implying that rum originated in Cuba

 when it did not, holding that defendant adequately pleaded unclean hands defense by alleging

 that plaintiffs sold Panamanian rum under “Havana Club” label).

            As set forth in NJ Amici’s January 18, 2024 brief, and further detailed in the July 11,

 2024 comments submitted by many of the NJ Amici and others with respect to the draft

 EA/FONSI prepared for the Bridge Expansion,3 Plaintiff’s positions in this action cannot be

 reconciled with its positions regarding the Bridge Expansion.

            The Bridge Expansion will undisputably increase vehicle miles travelled GHGs, and

 pollution; alter traffic patterns; lead to even more traffic on local Jersey City streets; and

 disproportionately impact environmental justice communities. Nonetheless, the State contends

 that no environmental impact statement is required for the Bridge Expansion and it has no

 obligation to get public input, consult with public officials, or consider alternatives to reducing

 traffic congestion. None of these positions can be reconciled with New Jersey’s contentions in

 this action.




 3
     Amici’s comments regarding the EA/FONSI for the Bridge Expansion are annexed hereto as Exhibit A.
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             At the heart of Plaintiff’s motion is its claim that the EA provides insufficient mitigation

 measures for increased truck traffic in Bergen County. But contrast that with the position it is

 taking regarding the Bridge Expansion. The traffic analysis submitted as part of the EA/FONSI

 shows that the Bridge Expansion will cause an increase in diesel truck traffic during rush hours

 of between 23.2% and 38.5% when compared to a no-action alternative. The State did not do

 hot-spot analysis along the truck routes leading to the NB-HCE, has not acknowledged that the

 huge jump in truck traffic will have substantial environmental impacts, and is not providing any

 mitigation measures to address those impacts.4

             Plaintiff has never denied that its positions in this litigation is inconsistent with those it is

 taking regarding the Bridge Expansion. These inconsistent positions require the denial of

 Plaintiff’s motion. At the very least, an injunction should not be issued without the development

 of a full record of Plaintiff’s conflicting positions.

 C. The Court should require the disclosure of the Parties’ settlement proposals

              While Fed. R. Evid. 408 bars the disclosure of settlement discussions “either to prove or

 disprove the validity or amount of a disputed claim or to impeach by a prior inconsistent

 statement or a contradiction,” it does not prohibit the disclosure of those discussions if they are

 evidence of a party’s bad faith. The Court should require the disclosure and consideration of the

 settlement proposals exchanged between Plaintiff and the Defendants to determine whether

 Plaintiff is proceeding in good faith, a prerequisite to granting injunctive relief.

             Rule 408 only bars the introduction of a statement if it is being introduced to prove the

 validity of the claim that was being settled when the statement was made. See Wine & Canvas

 Dev., LLC v. Muylle, 868 F.3d 534, 540 (7th Cir. 2017). Thus, testimony made by trademark



 4
     Id. at 3, 21-22.
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 owner during settlement discussions regarding owners' trademark infringement claims was

 admissible at trial to show owners’ improper intent and ulterior motive in filing their lawsuit.

         The Court has strongly encouraged the settlement of this action, astutely recognizing that

 a settlement would benefit all parties. NJ Amici did not attend the settlement discussions that

 were subsequently held (we were not invited). But reports of those talks have leaked out. New

 York Governor Hochul is quoted as saying that New Jersey officials were not negotiating in

 good faith.5 It was also reported that “New York’s negotiators have offered New Jersey

 hundreds of millions of dollars to settle the lawsuit. New York’s representatives have also

 included additional toll credits for New Jersey drivers in the proposed deal.”6 Another report was

 that the offer included money not only for mitigation, but also “to prop up the beleaguered New

 Jersey Transit system.”7

         The disclosure of the settlement discussions could very well show Plaintiff’s lack of good

 faith, a prerequisite to granting injunctive relief. The Court should not issue an injunction

 without disclosure and consideration of the settlement proposals and an understanding of

 whether New Jersey acted in bad faith by refusing to accept a proposal that would have

 addressed its concerns regarding the Tolling Program.



                                                               Respectfully submitted,

                                                               /s/ John H. Reichman

                                                               John H. Reichman




 5
   https://www.nytimes.com/2024/12/18/nyregion/congestion-pricing-ny-nj-hochul.html
 6
   Id.
 7
   https://nyc.streetsblog.org/2024/12/18/nj-refusing-generous-congestion-pricing-lawsuit-ettlement-hochul-says
